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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 THE DISTRICT OF COLUMBIA, et al.,

                        Plaintiffs,

                v.                                       No. 8:17-cv-1596-PJM

 DONALD J. TRUMP, in his official capacity
 as President of the United States and in his
 individual capacity,

                        Defendants.




         RESPONSE OF THE PRESIDENT, IN HIS OFFICIAL CAPACITY, TO
               PLAINTIFFS’ PROPOSED DISCOVERY SCHEDULE
       Pursuant to this Court’s Order dated November 27, 2018 (ECF No. 140), directing

defense counsel to promptly advise the Court whether they object to Plaintiffs’ proposed

discovery schedule (ECF No. 138), undersigned counsel for the President in his official capacity

respectfully advise the Court as follows:

       The Solicitor General of the United States has authorized the filing in the U.S. Court of

Appeals for the Fourth Circuit of a petition for writ of mandamus against this Court’s orders

declining to dismiss the case and to certify an interlocutory appeal, as well as an application for a

stay of district court proceedings pending resolution of the mandamus petition. Accordingly, the

President does not believe that discovery should commence now but should await the Court of

Appeals’ resolutions of the mandamus petition and stay application. If this Court nevertheless

finds that discovery should proceed now, then the President does not object to the discovery

schedule proposed by Plaintiffs.
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Dated: November 30, 2018              Respectfully Submitted:

                                         JOSEPH H. HUNT
                                         Assistant Attorney General

                                         BRETT A. SHUMATE
                                         Deputy Assistant Attorney General

                                         JENNIFER D. RICKETTS
                                         Director, Federal Programs Branch

                                         ANTHONY J. COPPOLINO
                                         Deputy Director

                                         /s/ Jean Lin
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2018, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.
                                                       /s/ Jean Lin
                                                       JEAN LIN




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